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JIMMY D. BRIGGS, ET AL v. RECREATION BY DESIGN, LLC, ET AL

NAMED PLAINTIFFS

No

Last Name

First Name

Representative Address of THU County | Contractor

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Moss Point, MS 39563

25 Lee Lisa Li 4179 West Bayou Ave Jackson Bechtel
Moss Point, MS 39563

3. L L D | LisaL Lee (Mother) | 4179 West Bayou Ave Jackson Bechtel
L Moss Point, MS 39563

4, McWilliams Marquetta 1314 Skip Jackson Bechtel
Pascagoula, MS 39567

5. M $ M | Marquetta 1314 Skip Jackson Bechtel
McWilliams Pascagoula, MS 39567

(Mother)

